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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 Copyright Rightsholder Identified in                          )
 Exhibit 1,                                                    )
                                                               )
                                              Plaintiff,       )
                                                               ) Case No. 1:23-cv-04507
 v.                                                            )
                                                               ) Dist. Judge Matthew F. Kennelly
 The Partnerships and Unincorporated                           )
 Associations Identified on Schedule A,                        ) Mag. Judge Gabriel A. Fuentes
                                                               )
                                              Defendants       )

      Plaintiff’s Motion for Electronic Service of Process Pursuant to Fed. R. Civ. P. 4(f)(3)

NOW COMES Copyright Rightsholder Identified in Exhibit 1 of the Complaint (“Plaintiff”), by

and through his undersigned counsel, and pursuant to Federal Rule of Civil Procedure 4(f)(3)

requests this Court’s authorization to serve process by electronically publishing a link to the

Complaint, the Temporary Restraining Order, and other relevant documents on a website and by

sending an e-mail, to the e-mail addresses identified and provided for Defendants by third parties,

that includes a link to said website. Plaintiff submits that providing notice via electronic publication

and e-mail in this way, along with any notice which Defendants will also receive from Amazon,

eBay, and their respective payment processors, is reasonably calculated under all circumstances to

best apprise the Defendants in this case of the pendency of the action and afford them the best

opportunity to present their objections.

         Electronic service is appropriate and necessary because these Defendants in this case, on

information and belief: (i) have provided no contact whatsoever, or incomplete and/or not readily

verifiable physical address information in their registrations for the Defendant Internet Stores, in

order to obfuscate their locations and avoid liability for their unlawful conduct; and (ii) rely almost

exclusively on electronic communications to communicate with their third-party service providers



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and customers, demonstrating the reliability of this method of communication by which Defendants

may be apprised of the pendency of this action. See, Declaration of Adam E. Urbanczyk at ¶ 2.

Moreover, Amazon and other e-commerce storefront accounts are very often sold or transferred

from the identified registered party to a second party who is not identified in the account

information. Id. At ¶ 4. Authorizing service of process via e-mail and electronic publication will

benefit all parties and the Court by ensuring that Defendants receive the most-prompt notice of this

action, thus allowing this action to move forward expeditiously. Absent the ability to serve

Defendants in this manner, Plaintiff will almost certainly be left without the ability to pursue a final

judgment.

        Defendants accepting Amazon Pay, PayPal, and other payment processor accounts must

provide a valid e-mail address to customers for completing payment. See, Urbanczyk Decl. at ¶ 2. It

is necessary for merchants, such as Defendants, who operate their Defendant Online Stores entirely

online, to visit their Defendant Online Stores to ensure they are functioning and to communicate

with customers electronically including, necessarily, via email.

        As such, it is far more likely that Defendants can be served electronically than through

physical or other traditional service of process methods. Defendants must invariably provide an e-

mail address to third-party online marketplace platforms such as Amazon and eBay when registering

their accounts. Id. At ¶ 3. Moreover, unlike an e-mail address, which is typically verified by the

third-party online marketplace platforms, no verification typically occurs for physical addresses

which the registrant may provide. Id. Because an e-commerce store operator can input any physical

address, and because on information and belief many items are dropshipped from third-parties and

not originating from the Defendants themselves, such addresses are very often false and/or are not

where the e-commerce store operator is located, including because product returns are not a




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consideration. Id. As such, even if a physical address is available, it is not a reliable means for

identifying and locating Defendants. Id.

        Federal Rules allow this Court to authorize service of process by any means not prohibited

by international agreement as the Court directs. Fed. R. Civ. P. 4(f)(3); Gianni Versace, S.P.A. v.

Yong Peng, et al., No. 18-cv-5385 (N.D. Ill. Feb. 27, 2019), citing, Rio Props., Inc. v. Rio Int’l

Interlink, 284 F.3d 1007, 1014 (9th Cir. 2002). The Ninth Circuit in Rio Properties held, “without

hesitation,” that e-mail service of an online business defendant “was constitutionally acceptable.”

Id., at 1017. The Court reached this conclusion, in part, because the defendant conducted its

business over the Internet, used e-mail regularly in its business, and encouraged parties to contact it

via e-mail. Id.

        A number of Courts, including the Northern District of Illinois, have held that alternate

forms of service pursuant to Rule 4(f)(3), including e-mail service, are appropriate and may be the

only means of effecting service of process “when faced with an international e-business scofflaw.”

Id. at 1018; See also, Deckers Outdoor Corp. v. The P’ships and Unincorporated Assocs. Identified

on Schedule “A”, No. 15-cv-3249 (N.D. Ill. April 21, 2015) (unpublished) (order granting Ex Parte

Motion for Temporary Restraining Order, which included permission to serve electronically).

        Rule 4 does not require that a party attempt service of process by other methods enumerated

in Rule 4(f) before petitioning the court for alternative relief under Rule 4(f)(3). Rio Properties, 284

F.3d at 1014-15. As the Rio Properties Court explained, Rule 4(f) does not create a hierarchy of

preferred methods of service of process. Id., at 1014. To the contrary, the plain language of the

Rule requires only that service be directed by the court and not be prohibited by international

agreement. There are no other limitations or requirements. Id. Alternative service under Rule

4(f)(3) is neither a “last resort” nor “extraordinary relief,” but is rather one means among several by

which an international defendant may be served. Id. Likewise, Courts have confirmed that the



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Hague Convention does not displace Rule 4(f)(3). See, Nagravision SA v. Gotech Int'l Tech. Ltd.,

882 F.3d 494, 498 (5th Cir. 2018) (“Overlooking Rule 4(f)(3) entirely, Gotech argues that the service

did not comply with the Hague Convention and Rule 4(f)(1). This argument misses the mark

because service was not effected pursuant to the Hague Convention, and that agreement does not

displace Rule 4(f)(3).”).

        The People’s Republic of China is a signatory to the Hague Convention on the Service

Abroad of Judicial and Extra-Judicial Documents in Civil and Commercial Matters (the “Hague

Convention”). Urbanczyk Decl. at ¶ 4. According to Article 1 of the Hague Convention, the

“convention shall not apply where the address of the person to be served with the document is not

known.” Id. United States District Courts, including Courts in this District, routinely permit

alternative service of process notwithstanding the Hague Convention. See e.g., Gianni Versace,

S.P.A. v. Yong Peng, et al., No. 18-cv-5385 (N.D. Ill. Feb. 27, 2019) (“Nor must Versace attempt

service by contacting the Chinese Ministry of Justice, as suggested by [defendant]. The plain

language of Rule 4 requires only that service be made as directed by the court and not prohibited by

international agreement.”); In re Potash Antitrust Litig., 667 F. Supp. 2d 907, 930 (N.D. Ill. 2009)

(“plaintiffs are not required to first attempt service through the Hague Convention.”); see also,

Strabala v. Zhang, 318 F.R.D. 81, 114 (N.D. Ill. 2016) (authorizing alternative service pursuant to

Fed. R. Civ. P. 4(f)(3); Sulzer Mixpac AG v. Medenstar Indus. Co., 312 F.R.D. 329, 331-32

(S.D.N.Y. 2015) (same); In re LDK Solar Secs. Litig., 2008 WL 2415186, *2 (N.D. Cal. Jun. 12,

2008) (same); Williams-Sonoma Inc. v. Friendfinder Inc., 2007 WL 1140639, at *2 (N.D. Cal. Apr.

17, 2007) (same); Levi Strauss & Co., v. Zhejiang Weidu Garment Co., Ltd. et al., No. 16-cv-7824

(N.D. Ill. Nov. 17, 2016) (same); Nanya Tech. Corp. v. Fujitsu Ltd., 2007 WL 269087, *6 (D. Guam

Jan. 26, 2007) (Hague Convention, to which Japan is a signatory, did not prohibit e-mail service

upon Japanese defendant); Popular Enters., LLC v. Webcom Media Group, Inc., 225 F.R.D. 560,



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562 (E.D. Tenn. 2004) (recognizing that, while “communication via e-mail and over the internet is

comparatively new, such communication has been zealously embraced within the business

community”). The Hague Convention does not itself preclude service by e-mail. Urbanczyk Decl.

at ¶ 5; See e.g., Lexmark Int'l, Inc. v. Ink Techs. Printer Supplies, LLC, 295 F.R.D. 259, 261 (S.D.

Ohio 2013) (“[v]arious courts have agreed that service by email is not prohibited by the Hague

Convention”); Facebook, Inc. v. Banana Ads, LLC, 2012 WL 1038752, at *3 (N.D. Cal. Mar. 27,

2012) (citing cases where courts held that service by e-mail did not violate the Hague Convention as

to foreign defendants, including in China).

        Court-directed electronic service pursuant to Rule 4(f)(3) is appropriate in this case where

“there is a need for speed that cannot be met by following the Hague Convention methods…”

because of the injunctive relief sought by Plaintiff, even if the Hague Convention did apply.

Strabala, citing, 4B FED. PRAC. & PROC. CIV. § 1134 (4th ed.).

        For the reasons set forth herein, Plaintiff respectfully requests this Court’s permission to

serve Defendants via e-mail and electronic publication. In accordance with this request, the

proposed Temporary Restraining Order includes authorization to serve Defendants electronically

and provides for issuance of a single original summons1 in the name of “The Partnerships and all

other Defendants identified in the Complaint” that shall apply to all Defendants in accordance with

Federal Rule of Civil Procedure 4(b).

Dated: July 16, 2023


                                                                  Respectfully submitted,

                                                                  /s/Adam E. Urbanczyk
                                                                  Adam E. Urbanczyk

1 The Advisory Committee Notes to the 1993 Amendment to Rule 4(b) states, “If there are multiple

defendants, the plaintiff may secure issuance of a summons for each defendant, or may serve copies of a
single original bearing the names of multiple defendants if the addressee of the summons is effectively
identified.” Fed. R. Civ. P. 4(b) advisory committee notes (1993).


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